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                                                                     United States District Court
                                                                       Southern District of Texas

                                                                          ENTERED
                                                                        August 29, 2022
                                                                       Nathan Ochsner, Clerk

                   UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION

        UNITED STATES OF    § CRIMINAL ACTION NO.
        AMERICA,            § 4:17-CR-00651-5
                            §
                            §
            vs.             § JUDGE CHARLES ESKRIDGE
                            §
                            §
        MARIA ANGELICA      §
        MORENO-REYNA,       §
                 Defendant. §


                                ORDER

            The motion by Defendant Maria Angelica Moreno-
       Reyna for credit for time served is denied. Dkt 525.
            Moreno-Reyna filed her motion pro se. But she is
       represented by counsel. Dkts 232 & 559. The Government
       sponsors four reasons for denial, all of which are correct.
       Dkt 596 at 2–11.
            First, a criminal defendant represented by counsel may
       not make pro se filings. United States v Jones, 842 Fed
       Appx 878, 883 (5th Cir 2021), citing Myers v Johnson, 76
       F3d 1330, 1335 (5th Cir 1996).
            Second, any challenge to a sentence not yet imposed
       isn’t ripe. See Sample v Morrison, 406 F3d 310, 312 (5th
       Cir 2005).
            Third, a writ of habeas corpus after exhaustion of
       remedies with the Bureau of Prisons is the appropriate
       mechanism by which to seek credit for time served. See
       Pack v Yusuff, 218 F3d 448, 451 (5th Cir 2000); United
       States v Garcia-Gutierrez, 835 F2d 585, 586 (5th Cir 1988).
            And fourth, the claim brought by Moreno-Reyna is
       meritless. See Schmitt v United States, 2018 WL 4102517,
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       *4 (SD Miss), citing, among other cases, Harper v Showers,
       174 F3d 716, 719 (5th Cir 1999).
           The motion is DENIED.
           SO ORDERED.


           Signed on August 29, 2022, at Houston, Texas.



                                __________________________
                                Hon. Charles Eskridge
                                United States District Judge




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